                       Case 3:22-mj-01074-SDV Document 1 Filed 12/12/22 Page 1 of 1
AO 91 Criminal Complaint5HYLVHG


                                      UNITED STATES DISTRICT COURT
                                                                                                                         United States District Court
                                                                                                                            District of Connecticut
                                                                                                                          FILED AT BRIDGEPORT

                                                              for the                                                     Dec. 12                       22
                                                                                                                      _______________________,20___

                                                    District District
                                                __________   of Connecticut
                                                                      of __________                                   By__________________________
                                                                                                                               Deputy Clerk

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No. 3:22mj1074 SDV
                    Christopher Bates Jr.                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 24, 2019 to November 30, 2022 in the county of                        Fairfield                    in the
                        District of        Connecticut       , the defendant(s) violated:

             Code Section                                                 Offense Description
18 U.S.C. § 2252A(a)(2)                       Receipt of child pornography; and

18 U.S.C. § 2252A(a)(5)(B)                    Possession of child pornography.




          This criminal complaint is based on these facts:
See attached Affidavit of HSI Special Agent Stephanie Kooharian, which is incorporated herein by reference.




          ✔ Continued on the attached sheet.
          u
                                                                        STEPHANIE M                     Digitally signed by STEPHANIE M
                                                                                                        KOOHARIAN
                                                                        KOOHARIAN                       Date: 2022.12.12 12:51:39 -05'00'
                                                                                            Complainant’s signature

                                                                               Stephanie Kooharian, Special Agent, HSI
                                                                                             Printed name and title

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WHOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                           Digitally signed by S. Dave Vatti

Date:             12/12/2022
                                                                        S. Dave Vatti                   Date: 2022.12.12 14:06:56
                                                                                                        -05'00'
                                                                                               Judge’s signature

City and state:                    Bridgeport, Connecticut                    Hon. S. Dave Vatti, U.S. Magistrate Judge
                                                                                             Printed name and title
